Frank Frank Goldstein & Nager PC
1430 Broadway

Suite 1615

New York, NY10018

Phone: 212-686-0100

Fax 1 212-686-6726

Summa C?Pita‘€°rp~ Trust Statement
HowaId A. Schulder

136 E 57th Street 02/0 1/2017 to 02/28/2017
Suite 1105 Client: 539

New York, NY 10022

Puyments Re ceived:

 

 

 

Rate Pmt Amount Amount Amuunt Amount Balance on
PmrDare Debtor Name Debt ID Clc Ref No Plan Code Paid Us Paid_Clt Duc Us Dne Clt 02/28/2017
02/14&017 Tally Lcasing Corp. 149485-1 20A CHK 29,500.00 O.DO 5,900.00 23,600.00 23,824.19
(1 Payment) 29,500M 0.00 5,900.00 23,600.00
Credit Amount $23,600.00
Remit Amount $O.GO
Summary for Summa Capital Corp.
-------- P n'or Balance Update--~-- -----Curreof-------- -~-----Paymenf---~--
Pn'or Credits $0.00 Gross Collections 529,500.00 Check Fchlosed 323,600.00
Amount Applied 30.00 Collection Fees 55,900.00 Please Remit $0.00
AmnuntRefuoded 30.00 Sales Tax 0.00% 80.00
Prior I~`ees L`npaid SD.DD Rebate Am ount 50.00
Amonnt¥\`irhheld SO.GU Sales Tax[D #

 
 
 
  

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§ ' 14303madway, Suite 1615 ' ~ ` - - 7 _ ~ . ` '
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ORDER OF Summa Capztal Corp. ____ ___| $ ~23 500 00

 

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_ . ----v-m*r-m!§§_<,_;__c-;;:;:;::;x’§`§“v;§g`§‘a _ 7 DOLLARS
_Summa Capita| Corp 4
136 E 57th Stre_ét
Suire 1105 _~ "

New Yor)<. NY 10022

 

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MEMC

 

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1-/ FRANK,`FRANK, GOLDSTEIN & NAGER P.C.
f ATroRNEYS AT LAW

1430 BROADWAY, SUITE 1615
NEW YORK, N.Y. 10018

212-686-0100
FAX: 212-686-6726
JocEL¥N RUTH NAGER, EsQ. LEGAL AsslsrANrs
SETH H. SCHLANGER, EsQ. JACKEL¥N FLoREz, CLA

January 14, 2014

Summa Capita| Corp.
350 Fifth Avenue,Ste. 7612
New York, NY 10118

Attn: Howard A. Schu|der

 

 

 

 

 

 

REM|TTANCE STATEMENT
Page1 . -_
l _ _ v Received Commissions Amount Due
Our No. Your Number Creditorl Debtor_ Name _ ' By FFG&N & Fees Client §
149482- 05250 SUMMA CAP|TAL CORP. as Assigne 29342.91 7335.73 22007.18
East /West Management , Corp.
29343,91 f '73'35.73 l 22007.18
Check Enclosed for Amount Due C|ient: 22007.18
21 - Paid/n Full 22 - On AccountPayment 24 - Settlement/n Ful/

g : . . . . . .
Code Le end 17 - Bankmpt w/lntenm D/vldend 18 ~ BankruptFmal Dlvldand

 

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;7¢: ' 00435
/ Vendor Company Name Vendor Number Ve_ndor Phone # Ch€€k Dat¢ Cherk No.
§umma Capirax Corp. zzzs39 _01/14/2014 4355
Invoice Number Inv. Date Reference Invoice Al_x'\ount Total Paid _ Discouot/;Adj Paymeot Amoun
108197 01/14/2014 REMITTANCE 22007.18 22007.18 0.00 22007.1
TOTAL 22007,18 22007.18 0.00 22007.1
_l&] > ».._\
E.C.'.'LE‘-`»E.!-M ':
' summons nunc 0043`
FR_ANK FRANK aol.os'r£m a NAGER_ P.c. "EW }’_‘,’§5'§,2";°'°°"
AiLaw _
1430 BFIOAID\IV$Y,'At SU|TE 1615
NEW YORK, NY 10018 4355
Sum of Twenty Two Thousand Seven and 18/ 100 Dollars DATE AMOUNT
_ 01/14/2014 $22,007.18
$AYrHE Summa Capital Corp.
1§ S¢F.-‘DER Howard A. Schulder
§ 350 Finh Avenue,sze. 7612
§ New YorhNY 10118
USA u-
ll'UUl.?aS‘_-`:H' l.C|EE,OL§E'?F=l. LSUDBBEEBEN'

 

 

 

 

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